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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------X
 UNITED STATES OF AMERICA,

         -against-                                 MEMORANDUM AND ORDER

                                                   10-CR-627 (KAM)
 COURTNEY DUPREE, THOMAS FOLEY, AND
 RODNEY WATTS,

                     Defendants.
 -----------------------------------X

 MATSUMOTO, United States District Judge:

                                INTRODUCTION

             Defendants Courtney Dupree (“Dupree”), Thomas Foley

 (“Foley”) and Rodney Watts (“Watts”) (together, “defendants”)

 are charged together in three counts, Watts is charged in four

 counts, and Dupree is charged in all five counts of a five-count

 superseding indictment.      (See ECF No. 155, Superseding

 Indictment (“Superseding Indictment”).)         Count One charges all

 defendants with Conspiracy to Commit Bank, Mail and Wire Fraud

 in violation of 18 U.S.C. §§ 1349, 3551 et seq.             (Id. at ¶¶ 17-

 18.)   Count Two charges all defendants with Bank Fraud in

 violation of 18 U.S.C. §§ 1344, 2, 3551 et seq.             (Id. at ¶¶ 19-

 20.)   Count Three charges defendants Dupree and Watts with

 making a False Statement in violation of 18 U.S.C. §§ 1014, 2,

 3551 et seq.    (Id. at ¶¶ 21-22.)       Count Four charges all

 defendants with making a False Statement by “knowingly and

 intentionally [making] a false statement and report, and

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 willfully overvalu[ing] property and security, for the purpose

 of influencing the action of Amalgamated Bank upon one or more

 loans. . .” in violation of 18 U.S.C. §§ 1014, 2, 3551 et seq.

 (Id. at ¶¶ 23-24.)     Count Five charges only defendant Dupree

 with an additional count of Bank Fraud, in violation of 18

 U.S.C. §§ 1344, 2, 3551 et seq.       (Id. at ¶¶ 25-26.)

             The first four counts of the Superseding Indictment

 arise out of an alleged scheme to defraud Amalgamated Bank

 (“Amalgamated”), a financial institution, the deposits of which

 were insured by the Federal Deposit Insurance Corporation, and

 C3 Capital, LLC, a private equity investment firm, by obtaining,

 and attempting to obtain, loans for GDC and its subsidiaries on

 the basis of false financial statements and other material

 misrepresentations between January 2007 and July 2010.              (Id. at

 ¶¶ 5, 6, 8.)

             Count Five was added in a Superseding Indictment filed

 on March 25, 2011, and charges only defendant Dupree with an

 additional count of bank fraud for “knowingly and intentionally

 execut[ing] and attempt[ing] to execute a scheme and artifice to

 defraud Amalgamated Bank, and to obtain moneys, funds, credits

 and other property owned by, and under the custody and control

 of, Amalgamated Bank by means of materially false and fraudulent

 pretenses, representations and promises” between August 4, 2010

 and March 1, 2011.     (Id. at ¶ 26.)

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             Presently before the court is defendant Dupree’s

 motion to dismiss Count Five of the Superseding Indictment.               For

 the reasons set forth below, defendant Dupree’s motion is

 granted and Count Five is dismissed without prejudice and with

 leave for the government to re-present the matter to the grand

 jury.

                                 BACKGROUND

             I.    The Agreement and Subsequent Default

             The following facts were submitted by defendant Dupree

 in support of his motion to dismiss Count Five of the

 Superseding Indictment, but are not alleged in Count Five.               On

 August 29, 2008, JDC Lighting, LLC, Unalite Electric and

 Lighting, LLC, and Hudson Bay Environments Group, LLC (the

 “Subsidiaries”) entered into a Revolving Credit and Term Loan

 Agreement with Amalgamated Bank (the “Agreement”).             (See ECF No.

 188, Ex. A, Agreement dated Aug. 29, 2008.)           GDC guaranteed the

 loan.   (See id. at ¶ 1.08.)      Pursuant to paragraph 5.05 of the

 Agreement, each borrower agreed that “so long as [the] Agreement

 is in effect,” the borrower would “(i) [m]aintain its operating

 accounts at the Bank, and (ii) deposit all of its revenue, upon

 receipt, into an operating account at the Bank.”            (See id. at ¶¶

 5, 5.05.)

             On May 7, 2010, Amalgamated informed the Subsidiaries

 that “Events of Default have occurred,” and reserved its rights

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 to “charge interest on the outstanding principal amount of the

 Loan at the default rates . . . and the right to declare the

 Obligations under the Loan Documents . . . immediately due and

 payable.”    (ECF No. 188, Ex. D., Letter from Amalgamated dated

 May 7, 2010.)

             On July 23, 2010, Amalgamated sent a further letter to

 the Subsidiaries informing them that “as a result of the

 existing Events of Default identified in the May 7, 2010 letter

 and additional Events of Default that have arisen, all

 availability under the Revolving Credit Facility has been frozen

 and the Bank is hereby exercising its right to accelerate the

 Loans and demand payment in full of all indebtedness owing under

 the Credit Agreement, the Notes and the other Loan Documents.”

 (See ECF No. 188, Ex. E, Letter from Amalgamated dated July 23,

 2010.)

             In a state court proceeding initiated by Amalgamated

 by Order to Show Cause dated August 4, 2010, New York Supreme

 Court Justice Shirley Werner Kornreich granted Amalgamated’s

 request, inter alia, for an order temporarily restraining

 defendants, GDC and its affiliates, from “moving, removing,

 transferring, encumbering . . . assets . . . and . . . books

 [and] records . . . other than in the ordinary course of

 business. . . .”     (ECF No. 188, Ex. G, Order to Show Cause

 Appointing Temporary Receiver, dated Aug. 4, 2010, at ¶ 21 (the

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 “August 4 Order”).) Justice Kornreich also ordered that all

 funds in the Chase accounts be deposited into the Amalgamated

 Bank account.     (Id. at ¶ 24.)

             II.   The Instant Motion

             Presently before the court is defendant Dupree’s

 motion to dismiss Count Five of the Superseding Indictment,

 which charges defendant Dupree with bank fraud pursuant to 18

 U.S.C. §§ 1344, 2 and 3551 et seq.         The court held oral argument

 on the motion on June 2, 2011.       (See Transcript of Proceedings

 before the Honorable Kiyo A. Matsumoto on June 2, 2011 (“Tr.”).)

 Defendant Dupree argues: (1) that the government cannot show

 that the funds Dupree transferred were in the property of or in

 the possession of another because Amalgamated Bank had not given

 written notice under New York law of its intent to claim the

 funds Dupree allegedly took (ECF No. 188-2, Memorandum in

 Support of Defendant [Dupree’s] Motion for Dismissal of Count

 Five of the Indictment (“Dupree Count Five Mem.”) at 6-10); and

 (2) that the government has failed to provide Dupree and the

 public with information as to the essential facts of the offense

 charged including what false pretenses, representations or

 promises he allegedly made (id. at 10-13).

             In response, the government makes three arguments.

 First, the government argues that Dupree ignores the charge

 under subsection (1) of 18 U.S.C. § 1344, which provides that

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 “whoever knowingly executes, or attempts to execute, a scheme or

 artifice to defraud a financial institution,” is subject to fine

 and imprisonment.     (ECF No. 208, Memorandum of Law in Opposition

 to Dupree’s Motion to Dismiss Count Five of the Indictment

 (“Govt. Count Five Mem.”) at 5-6.)         Specifically, the government

 argues that a “scheme to defraud” pursuant to § 1344(1) does not

 require proof of a misrepresentation and is interpreted broadly

 on a case-by-case basis.      (Id.)   The government argues that

 Dupree, by “covertly desposit[ing] payments by Hudson Bay’s

 customers into an account at TD Bank in the company’s name,” and

 then transferring the money to another TD Bank account in

 Dupree’s own name, “concealed the existence of Hudson Bay’s

 collections from Amalgamated Bank in order to deprive the bank

 of its legal rights and enrich himself.”          (Id. at 8-9.)       Thus,

 according to the government, Count Five of the Superseding

 Indictment alleges a cognizable bank fraud by charging that

 Dupree concealed and converted to his own use Amalgamated Bank’s

 collateral.    (Govt. Count Five Mem. at 8, 11.)            Second, the

 government argues that pursuant to subsection (2) of 18 U.S.C.

 § 1344, by not disclosing to, and depositing into accounts at,

 Amalgamated, the payments received from Hudson Bay’s customers,

 Dupree took “something of value” from Amalgamated and committed

 fraud (id. at 11-14).       Third, the government disputes Dupree’s

 assertion that § 1344 requires the government to show that

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 Amalgamated had a security interest in the property, or a

 possessory right, custody or control of the HBE funds, at the

 time of the alleged transfer.       The government thus contends that

 Dupree’s argument that Amalgamated Bank had not given written

 notice of its intent to claim the funds Dupree allegedly took is

 irrelevant (id. at 14-15).

             In reply, Dupree argues: (1) that the government’s

 argument under both subsections (1) and (2) is “premised on an

 interpretation of a restraining order” by a state court and it

 would be an “impermissible exercise of this court’s jurisdiction

 to rule on or interpret that ]state court order]” (ECF No. 237,

 Defendant [Dupree’s] Reply in Support of Motion to Dismiss Count

 Five (“Dupree Count Five Reply”) at 1); and (2) that the cases

 the government cites under subsection (1) contain a broad

 interpretation of the statute which has not been followed in the

 Second Circuit and should not be applied in this case (id. at 3-

 4.)

             For the reasons set forth below, defendant Dupree’s

 motion to dismiss Count Five of the Superseding Indictment is

 granted and Count Five is dismissed without prejudice and with

 leave for the government to re-present the matter to the grand

 jury.




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                                  STANDARD


             The parties agree that Rule 7(c) governs the instant

 dispute.    Fed. R. Crim. P. 7(c) requires that an indictment

 contain “a plain, concise and definite written statement of the

 essential facts constituting the offense charged . . . .”                An

 indictment is legally sufficient if it does little more than

 “track the statutory language of the offense charged, state the

 approximate time and place of the alleged crime, and contain

 some amount of factual particularity to ensure that the

 prosecution will not fill in the elements of its case with facts

 other than those considered by the grand jury.”              United States

 v. Triumph Capital Group, Inc., 260 F. Supp. 2d 444, 448 (D.

 Conn. 2002) (citing United States v. Walsh, 194 F.3d 37, 44 (2d

 Cir. 1999).)    The validity of an indictment is tested by its

 allegations, not by whether the government can prove its case.

 Id.

             Count Five charges a violation of 18 U.S.C. § 1344

 which provides: “Whoever knowingly executes, or attempts to

 execute, a scheme or artifice--(1) to defraud a financial

 institution; or (2) to obtain any of the moneys, funds, credits,

 assets, securities, or other property owned by, or under the

 custody or control of, a financial institution, by means of

 false or fraudulent pretenses, representations, or promises;



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 shall be fined not more than $1,000,000 or imprisoned not more

 than 30 years, or both.”

             A conviction under § 1344 requires “proof of

 subsection (1) or subsection (2), but not both.”            United States

 v. Chandler, 98 F.3d 711, 714 (2d Cir. 1996).           To obtain a

 conviction under subsection (1) alone, the government “must

 prove beyond a reasonable doubt that the defendant engaged in or

 attempted to engage in a pattern or course of conduct designed

 to deceive a federally chartered or insured financial

 institution into releasing property, with the intent to

 victimize the institution by exposing it to actual or potential

 loss.”    Id. at 715 (citations omitted).

                                 DISCUSSION

             In essence, the government asserts that Count Five is

 based on evidence that defendant Dupree defrauded Amalgamated

 Bank, a financial institution, by depriving Amalgamated of funds

 it was lawfully entitled to pursuant to the Agreement between

 Amalgamated and the GDC subsidiaries and the August 4 Order,

 both of which obligated the subsidiaries to deposit all of their

 revenues into accounts at Amalgamated.         (Agreement at § 5.05;

 August 4 Order.)     By contrast to Counts One through Four, which

 allege that the defendants made false statements and submitted

 false and fraudulent materials to Amalgamated Bank to obtain the

 proceeds of the loan, the government argues that Count Five

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 alleges that Amalgamated had a “right to the deposit of the

 borrowers’ collections; Dupree intentionally deprived

 Amalgamated Bank of this valuable right by surreptitiously and

 deceptively depositing Hudson Bay’s collections into an account

 at a different bank; and Dupree converted the money Hudson Bay

 had collected to his own personal use.”          (ECF No. 208, Govt.

 Count Five Mem. at 3.)

            The parties’ dispute boils down to the genesis of

 Amalgamated’s right to the funds at issue.           Specifically, the

 parties dispute whether Count Five of the Superseding Indictment

 is predicated on section 5.05 of the Security Agreement, which

 required GDC to maintain all of its operating accounts with, and

 deposit all revenues upon receipt into an operating account at

 Amalgamated Bank, or whether Count Five is premised only on

 Justice Kornreich’s August 4, 2010 Order.          Further, if the grand

 jury did not consider section 5.05 in returning the Superseding

 Indictment and Count Five is based solely on the August 4 Order,

 the parties dispute whether the jury in this case would have to

 “interpret” the state court order, and if so, whether a federal

 jury is permitted to do so.

            In an order dated June 2, 2011, the court directed the

 parties to submit further briefing on the following issues: (a)

 whether under Count Five, the jury would be required to

 interpret or find a violation of Justice Kornreich's 8/4/10

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 state court order; (b) whether, if the jury is required to make

 such a finding, interpretation of a state court order differs

 from interpretation of a contract, mortgage or other legal

 document; and (c) whether a federal jury may properly make such

 a finding.    (See Minute Entry and Order dated June 2, 2011.)

 Both the government and defendant Dupree submitted letters on

 June 7, 2011.    (ECF No. 251, Letter from Roscoe C. Howard, Jr.,

 counsel for defendant Dupree, dated June 7, 2011 (“Dupree

 Supp.”); ECF No. 252, Letter from the Government, dated June 7,

 2011 (“Govt. Supp.”).)

              Pursuant to the plain language subsection of 18 U.S.C.

 § 1344, the bank fraud statute, a charge of bank fraud may be

 premised on a person knowingly executing or attempting to

 execute “a scheme or artifice--(1) to defraud a financial

 institution; or (2) to obtain any of the moneys, funds, credits,

 assets, securities, or other property owned by, or under the

 custody or control of, a financial institution, by means of

 false or fraudulent pretenses, representations, or promises.”

 18 U.S.C. § 1344.     The obligation to deposit all revenue with

 Amalgamated, the knowing violation of which may provide a basis

 for the bank fraud charged in Count Five, must be found in

 section 5.05 of the Agreement between the financial institution

 and the subsidiaries, which is not specifically referenced in

 the Superseding Indictment, rather than in the state court

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 order, which can only be interpreted by the court that issued

 it, and not by a federal grand jury or trial jury.             United

 States v. Barnett, 376 U.S. 681, 697-701 (1964) (“The power of a

 court to make an order carries with it the equal power to punish

 for a disobedience of that order, and the inquiry as to the

 question of disobedience has been, from time immemorial, the

 special function of the court.       And this is no technical rule.

 In order that a court may compel obedience to its orders it must

 have the right to inquire whether there has been any

 disobedience thereof.       To submit the question of disobedience to

 another tribunal, be it a jury or another court, would operate

 to deprive the proceeding of half its efficiency.”) (citation

 omitted); see also In re WestPoint Stevens, Inc., 600 F.3d 231,

 251-52 (2d Cir. 2010) (“To be sure, deference is owed to a

 court’s interpretation of its own orders; however, such

 deference is only appropriate where the court drafts the order.”

 (citation and internal quotation marks omitted)).

            Because the government concedes that the jury would be

 required to interpret the state court order as part of its

 determination of guilt under Count Five (Govt. Supp. at 3 (“Here

 the issue is . . . the interpretation of a state court order as

 part of a federal claim”)), Count Five is insufficient.              In

 order to have sufficiently charged Count Five, the Superseding

 Indictment should have relied upon section 5.05 of the Agreement

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 as a basis for alleging that Amalgamated Bank was defrauded,

 rather than alleging only that defendant Dupree defrauded

 Amalgamated via the state court’s order.          While the August 4

 Order may properly have been referenced in the Superseding

 Indictment as further evidence that defendant Dupree was aware

 that the subsidiaries were obligated to deposit their

 collections with Amalgamated, the violation of that Order alone

 cannot be the basis of the charge.

            Given that Count Five cannot be premised solely on a

 violation of a state court order and that the Superseding

 Indictment did not reference the existence of section 5.05 of

 the Agreement, the court finds that Count Five is insufficient.

 The government cannot rely solely upon the language referring to

 the August 4 Order in paragraph 16 of the Superseding Indictment

 to support Count Five against defendant Dupree (Superseding

 Indictment at ¶ 16) (“On or about August 4, 2010, Amalgamated

 Bank obtained a temporary restraining order in New York State

 Supreme Court providing that all of the borrowers’ ‘collections’

 were to be deposited at Amalgamated Bank.”).1


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               While the court finds that the government cannot rely on the
 August 4 Order to support its charge against defendant Dupree on Count Five,
 it does not strike the language from the Superseding Indictment. Pursuant to
 Fed. R. Crim. P. 7(d), a court may strike “surplusage” from an indictment
 “only where the challenged allegations are not relevant to the crime charged
 and are inflammatory and prejudicial.” United States v. Mulder, 273 F.3d 91,
 99 (2d Cir. 2001) (internal quotation marks omitted). “If evidence of the
 allegation is admissible and relevant to the charge, then regardless of how
 prejudicial the language is, it may not be stricken.” United States v.
 Scarpa, 913 F.2d 993, 1013 (2d Cir. 1990) (citation omitted). Thus, to

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             Apart from the reference to the August 4 Order, which

 the court finds cannot alone form the factual basis for Count

 Five, the other potential factual bases for Count Five in the

 Superseding Indictment can be found in paragraphs 9, 16, and 25-

 26.   Specifically, paragraph 9 references the Agreement between

 the subsidiaries, with GDC as guarantor, and Amalgamated, which

 provided that the subsidiaries could borrow up to $21 million

 from Amalgamated Bank through a revolving credit loan and term

 loan.   (Superseding Indictment at ¶ 9).         Paragraph 9 does not,

 however, refer specifically to section 5.05 of the Agreement

 which obligated the subsidiaries to maintain operating accounts

 with, and deposit all of their revenue with Amalgamated.

             Paragraph 16 provides:

             On or about August 4, 2010, Amalgamated Bank
             obtained a temporary restraining order in
             New York State Supreme Court providing that
             all of the borrowers’ “collections” were to
             be deposited at Amalgamated Bank. On or
             about and between August 4, 2010 and March
             1, 2011, defendant Courtney Dupree converted
             approximately $331,000 in customer payments
             to Hudson Bay received on or after August 4,
             2010 to his personal use. Dupree withdrew
             approximately $41,000 in cash from Hudson
             Bay’s account during this period and further
             transferred an additional $290,000 from the

 prevail on a motion to strike, the defendant must show that the challenged
 language is (1) irrelevant, (2) prejudicial, and (3) inflammatory. See id.
 As discussed herein, the August 4 Order is potentially relevant to show
 defendant Dupree’s knowledge and intent to violate the Agreement to maintain
 all operating accounts at the Bank and deposit all of the subsidiaries’
 revenue at Amalgamated. Accordingly, the court does not find that the
 standard for striking the language regarding the August 4 Order from the
 Superseding Indictment has been met.


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            Hudson Bay bank account to an account in his
            name at TD Bank, all without notice to
            Amalgamated Bank.

 (Superseding Indictment at ¶ 16).        Paragraph 16, thus, does not

 contain any allegation that Hudson Bay was required by the

 Agreement to maintain accounts and deposit the customer payment

 funds with Amalgamated.

            Finally, paragraph 25 incorporates the other

 paragraphs by reference, and paragraph 26 tracks the language of

 18 U.S.C. § 1344 by alleging that:

            On or about and between August 4, 2010 and
            March 1, 2011, both dates being approximate
            and inclusive, within the Eastern District
            and elsewhere, the defendant Courtney
            Dupree, together with others, did knowingly
            and intentionally execute and attempt to
            execute a scheme and artifice to defraud
            Amalgamated Bank, and to obtain moneys,
            funds, credits and other property owned by,
            and under the custody and control of,
            Amalgamated Bank, by means of materially
            false and fraudulent pretenses,
            representations and promises.

 (Superseding Indictment at ¶ 26.)        Paragraph 26 does not add

 additional factual support for charging defendant Dupree in

 Count Five of the Superseding Indictment.          The court finds that,

 aside from the language discussed above regarding the August 4

 Order which cannot provide a factual or legal basis for Count

 Five, there is not a sufficient “plain, concise and definite

 written statement of the essential facts constituting the

 offense charged [Count Five],” as required by Rule 7(c).

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 Specifically, there is no reference in the Superseding

 Indictment to section 5.05 of the Agreement, which obligated the

 subsidiaries to maintain all operating accounts with, and

 deposit all revenue, upon receipt, at Amalgamated Bank.              Without

 such a reference, it appears that the government would

 unconstitutionally have to establish the elements of its case

 with facts other than those considered by the grand jury.               See

 Russell v. United States, 369 U.S. 749, 770 (1962) (“To allow

 the prosecutor, or the court, to make a subsequent guess as to

 what was in the minds of the grand jury at the time they

 returned the indictment would deprive the defendant of a basic

 protection which [the] . . . grand jury was designed to secure.

 For a defendant could then be convicted on the basis of facts

 not found by, and perhaps not even presented to, the grand jury

 which indicted him.”).      As such, Count Five cannot stand and the

 count is dismissed without prejudice and with leave for the

 government to re-present the matter to the grand jury.              See,

 e.g., United States v. Awan, 459 F. Supp. 2d 167, 175 (E.D.N.Y.

 2006) (dismissing without prejudice two counts of an Indictment

 that contained insufficiently specific allegations and giving

 leave for the government to re-present the matter to the grand

 jury).2



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         Although the court declines to allow the government to rely on the
 reference to the August 4 Order from paragraph 16 to the Superseding

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                                  CONCLUSION

             For the reasons set forth above, defendant Dupree’s

 motion to dismiss Count Five of the Superseding Indictment is

 granted and Count Five is dismissed without prejudice and with

 leave for the government to re-present the matter to the grand

 jury.


 SO ORDERED.

 Dated: July 28, 2011
        Brooklyn, New York


                                           ___________/s/______
                                           KIYO A. MATSUMOTO
                                           United States District Judge
                                           Eastern District of New York




 Indictment as the basis for Count Five, this opinion should not be read as a
 ruling on the admissibility of the August 4 Order at trial. The government
 may move to admit the August 4 Order as evidence that defendant Dupree knew
 he was obligated to deposit the collections of the subsidiaries at
 Amalgamated Bank, and the court will consider that application at the
 appropriate time.

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